Case: 1:20-cv-02700 Document #: 2-1 Filed: 05/04/20 Page 1 of 46 PageID #:9




                          EXHIBIT A
        Case: 1:20-cv-02700 Document #: 2-1 Filed: 05/04/20 Page 2 of 46 PageID #:10
A lb.


;_:_t CT Corporation                                                             Service of Process
                                                                                 Transmittal
                                                                                 04/02/2020
                                                                                 CT Log Number 537486783
        TO:      STEVEN HERRING
                 Gerresheimer, Inc.
                 537 CRYSTAL AVE
                 VINELAND, NJ 08360-3238


        RE:      Process Served in Illinois

        FOR:     Gerresheimer Glass Inc. (Domestic State: DE)




        ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

        TITLE OF ACTION:                   ALEXSIA BRADLEY, etc., Pltf. vs. Gerresheimer Glass Inc., Dft.
        DOCUMENT(S) SERVED:

        COURT/AGENCY:                      None Specified
                                           Case # 2020CH03460
        ON WHOM PROCESS WAS SERVED:        C T Corporation System, Chicago, IL
        DATE AND HOUR OF SERVICE:          By Regular Mail on 04/02/2020 postmarked: "Not Post Marked"
        JURISDICTION SERVED:               Illinois
        APPEARANCE OR ANSWER DUE:          None Specified
        ATTORNEY(S) / SENDER(S):           None Specified
        ACTION ITEMS:                      CT has retained the current log, Retain Date: 04/02/2020, Expected Purge Date:
                                           04/07/2020

                                           Image SOP

                                           Email Notification, STEVEN HERRING steven.herring@gerresheimer.com

                                           Email Notification, Donald Norcross d.norcross@gerresheimer.com

                                           Email Notification, CRAIG CALLOWAY c.calloway@gerresheimer.com


        SIGNED:                            C T Corporation System
        ADDRESS:                           208 LaSalle Ave
                                           Suite 814
                                           Chicago, IL 60604
        For Questions:                     866-539-8692
                                           CorporationTeam@wolterskluwer.com




                                                                                 Page 1 of 1 / DP
                                                                                 Information displayed on this transmittal is for CT
                                                                                 Corporation's record keeping purposes only and is provided to
                                                                                 the recipient for quick reference. This information does not
                                                                                 constitute a legal opinion as to the nature of action, the
                                                                                 amount of damages, the answer date, or any information
                                                                                 contained in the documents themselves. Recipient is
                                                                                 responsible for interpreting said documents and for taking
                                                                                 appropriate action. Signatures on certified mail receipts
                                                                                 confirm receipt of package only, not contents.
Case: 1:20-cv-02700 Document #: 2-1 Filed: 05/04/20 Page 3 of 46 PageID #:11




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 Case: 1:20-cv-02700 Document #: 2-1 Filed: 05/04/20 Page 4 of 46 PageID #:12




Notice and Acknowledgment of
Receipt of Summons and Complaint                                                       (10/12/18) CCG 0063 A

                   IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
 ALEXSIA BRADLEY individually and on
 behalf of all others similarly situated
                                             Plaintiff(s)    Case No.     2020CH03460
                           VS.
                                                             Defendant(s)
 GERRESHIMER GLASS INC.
                                                             Amount Claimed: $
                                           Defendant(s)


        NOTICE AND ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND
      GERRESHIMER GLASS INC. COMPLAINT
      do CT Corporation System                                     208 S. LaSalle St., Suit 814
To:                                                     Address:
                       (Name)
         Chicago                                                                  zip: 60604
City:                                                              State: IL
The enclosed summons and complaint are served pursuant to section 2-213 of the Code of Civil
Procedure.
You must complete the acknowledgment part of this form and return one copy of the completed
form to the sender within            30       * days.
You must sign and date the acknowledgment. If you are served on behalf of a corporation,
unincorporated association (including a partnership), or other entity, you must indicate under your
signature your relationship to that entity. If you are served on behalf of another person and you are
authorized to receive process, you must indicate under your signature your authority.

If you do not complete and return the form to the sender within   30      * days, you (or the
party on whose behalf you are being served) may be served a summons and complaint in any other
manner permitted by law.

If you do complete and return this form, you (or the party on whose behalf you are being served)
must answer the complaint within              60        ** days. If you fail to do so, judgment by default
will be taken against you for the relief demanded in the complaint.
I declare, under penalty of perjury, that this riQticc. and acknowledgment of receipt of summons and
                                                              1
complaint will have been mailed on. 03/27/2020
              Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                    cookcountyclerkofcourtorg
                                                     Page 1 of 2
Case: 1:20-cv-02700 Document #: 2-1 Filed: 05/04/20 Page 5 of 46 PageID #:13


Notice and Acknowledgment of
Receipt of Summons and Complaint                                                           (10/12/18) CCG 0063 B

E-fding is now mandatory for documents in civil cases with limited exemptions. To
e-file, you must first create an account with an e-filing service provider. Visit http://efile.
illinoiscourts.gov/service-providers.htm to learn more and to select a service provider. If
you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/FAQ/
gethelp. asp.




         ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND COMPLAINT

I declare, under penalty of perjury, that I received a copy of the summons and of the complaint in
the above captioned matter at
<Please print or type)
Name:
Address:
City:                                             State:              Zip:
Email:
Relationship to Entity/Authority to Receive Service of Process:
(Not applicable if your are the named Defendant or Respondent.)

                                                               Dated:


                                                                                       Signature




* (ro be completed by the person sending the notice.) Date for return of waiver must be at least 30 days from the date
    on which the request is sent, or 60 days if the defendant is addressed outside the United States.
** go be completed by the person sending the notice.) Date for answering complaint must be at least 60 days from the
    date on which the request is sent, or 90 days if the defendant is addressed outside the United States.




                Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                  cookcountycletkofcourt.org
                                                        Page 2 of 2
                                            Case: 1:20-cv-02700 Document #: 2-1 Filed: 05/04/20 Page 6 of 46 PageID #:14
                         et rn ate: No return date scheduled
                        Hearing Date: 7/22/2020 9:30 AM - 9:30 AM
                        Courtroom Number: 2402
                                                                                                                                     FILED
                        Location: District 1 Court
                                                                                                                                     3/24/2020 1:11 PM
                                 Cook County, IL
                                                                                                                                     DOROTHY BROWN
                                                                                                                                     CIRCUIT CLERK
                                                                                                                                     COOK COUNTY, IL
FILEDDATE: 3/24/20201:11 PM 2020CH03460




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                                                                                                                                     8946364
                                          2120 - Served                     2121 - Served
                                          2220 - Not Served                 2221 - Not Served
                                          2320 - Served By Mail             2321 - Served By Mail
                                          2420 - Served By Publication      2421 - Served By Publication
                                          Summons - Alias Summons                                                         (08/01/18) CCG 0001 A

                                                        _ 1:N117HE .CIRCUIT_COURT_OF COOK COUNTY, ILLINOIS                               ^

                                          ALEXSIA BRADLEY individually and on
                                          behalf of all others similarly situated

                                                                           (Name all parties)
                                                                                                  Case No.
                                                            V.
                                          GERRESHIMER GLASS INC.


                                                                          SUMMONS 0 ALIAS SUMMONS
                                                                GERRESHIMER GLASS INC.
                                          To each Defendant: do CT Corporation System, 208 S. LaSalle St., Suit 814, Chicago, IL 60604

                                          YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of
                                          which is hereto attached, or otherwise file your appearance and pay the required fee within thirty
                                          (30) days after service of this Summons, not counting the day of service. To file your answer or
                                          appearance you need access to the internet. Please visit www.cookcountyclerkofcourt.org to initiate
                                          this process. Kiosks with internet access are available at all Clerk's Office locations. Please refer to
                                          the last page of this document for location information.
                                          If you fail to do so, a judgment by default may be entered against you for the relief
                                          requested in the complaint.
                                          To the Officer:
                                          This Summons must be returned by the officer or other person to whom it was given for service,
                                          with endorsement of service and fees, if any, immediately after service. If service cannot be made,
                                          this Summons shall be returned so endorsed. This Summons may not be served later than thirty (30)
                                          days after its date.




                                                        Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                          cookcountyclerkofcourt.org
                                                                                            Page 1 of 3
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                                           Summons - Alias Summons                                                               (08/01/18) CCG 0001 B
                                           E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first
                                           create an account with an e-filing service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm
                                           to learn more and to select a service provider. If you need additional help or have trouble e-filing, visit http://
                                           www.illinoiscourts.gov/FAQ/gethelp.asp, or talk with your local circuit clerk's office.
FILEDDATE: 3/24/2020 1:11 PM 2020CH03460




                                           Atty. No.: 44086                                            Witness:

                                           Atty Name: The Fish Law Firm, P.C.                                    3/24/2020 1:11 PM DOROTHY BROWN

                                           Atty. for: Plaintiff                                                DOROTHY BROWN, Clerk of Court
                                           Address: 200 E. 5th Ave., Suite 123
                                                                                                       Date of Service:
                                           City: Naperville
                                                                                                       (To be inserted by officer on copy-left-with
                                           State:   IL     zip: 60563                                  Defendant or other person):

                                           Telephone: 630-355-7590
                                           Primary Email: docketing@fishlawfirm.com


                                                                                                                             DOROTHY BROWN
                                                                                                                             CIRCUIT CLERK
                                                                                                                             COOK COUNTY, IL
                                                                                                                             2020CH03460




                                                           Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
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                                                                                                 Page 2 of 3
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                                               CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS

                                                Richard J Daley Center                             Domestic Relations Division
FILED DATE: 3/24/2020 1:11 PM 2020CH03460




                                                50 W Washington                                    Richard J Daley Center
                                                Chicago, IL 60602                                  50 W Washington, Rm 802
                                                District 2 - Skokie                                Chicago, IL 60602
                                                5600 Old Orchard Rd                                Hours: 8:30 am - 4:30 pm
                                                Skokie, IL 60077                                   Civil Appeals
                                                District 3 - Rolling Meadows                       Richard J Daley Center
                                                2121 Euclid                                        50 W Washington, Rm 801
                                                Rolling Meadows, IL 60008                          Chicago, IL 60602
                                                                                                   Hours: 8:30 am - 4:30 pm
                                                       4 - Maywood
                                                1500 Maybrook Ave                                  Criminal Department
                                                Maywood, IL 60153                                  Richard J Daley Center
                                                                                                   50 W Washington, Rm 1006
                                                District 5 - Bridgeview                            Chicago, IL 60602
                                                10220 S 76th Ave                                   Hours: 8:30 am - 4:30 pm
                                                Bridgeview, IL 60455
                                                                                                   County Division
                                                District 6 - Markham                               Richard J Daley Center
                                                16501 S Kedzie Pkwy                                50 W Washington, Rm 1202
                                                Markham, IL 60428                                  Chicago, IL 60602
                                                Domestic Violence Court                            Hours: 8:30 am - 4:30 pm
                                                555 W Harrison                                     Probate Division
                                                Chicago, IL 60607                                  Richard J Daley Center
                                                Juvenile Center Building                           50 W Washington, Rm 1202
                                                2245 W Ogden Ave, Rm 13                            Chicago, IL 60602
                                                Chicago, IL 60602                                  Hours: 8:30 am - 4:30 pm
                                                Criminal Court Building                    "       Law Division
                                                2650 S California Ave, Rm 526                      Richard J Daley Center
                                                Chicago, IL 60608                                  50 W Washington, Rm 801
                                                                                                   Chicago, IL 60602
                                            Daley Center Divisions/Departments                     Hours: 8:30 am - 4:30 pm
                                                Civil Division                                  Traffic Division
                                                Richard J Daley Center                          Richard J Daley Center
                                                50 W Washington, Rm 601                         50 W Washington, Lower Level
                                                Chicago, IL 60602                             • Chicago, IL 60602
                                                Hours: 8:30 am - 4:30 pm                        Hours: 8:30 am - 4:30 pm
                                                Chancery Division
                                                Richard J Daley Center
                                                50 W Washington, Rm 802
                                                Chicago, IL 60602
                                                Hours: 8:30 am - 4:30 pm

                                                        Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                          cookcountyclerkofcourt.org
                                                                     •               Page 3 of 3
                                           Case: 1:20-cv-02700 Document #: 2-1 Filed: 05/04/20 Page 9 of 46 PageID #:17
       'Return Date: No return date scheduled
        Hearing Date: 7/22/2020 9:30 AM - 9:30 AM
        Courtroom Number: 2402
        Location: District 1 Court                                                                                              FILED
                Cook County, IL                                                                                                 3/24/2020 1:11 PM
                                                          IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                         DOROTHY BROWN
                                                                                                                                CIRCUIT CLERK
                                                              COUNTY DEPARTMENT, CHANCERY DIVISION                              COOK COUNTY, IL
                        PM2020C H03460




                                                                                                                                2020CH03460
                                           ALEXSIA BRADLEY individually and on
                                           behalf of all others similarly situated,                                             8946364

                                                                   Plaintiff,
FILED DATE: 3/24/20201:11




                                                     V.                                         Case No.:

                                           GERRESHEIMER GLASS INC.,

                                                                   Defendant.




                                                                          CLASS ACTION COMPLAINT

                                                Plaintiff Alexsia Bradley ("Alexsia" or "Plaintiff') brings this Class Action Complaint

                                         against Defendant Gerresheimer Glass Inc., (Gerresheimer" or "Defendant") to put a stop to its

                                         unlawful collection, use, and storage of Plaintiff's and the putative Class members' sensitive

                                         biometric data. Plaintiff, for Plaintiff's Class Action Complaint, alleges as follows upon personal

                                         knowledge as to Plaintiffs own acts and experiences and, as to all other matters, upon information

                                         and belief.

                                                                            NATURE OF THE ACTION

                                                1.        Gerresheimer is a manufacturer of specialty glass and plastic products with a

                                         location in Chicago Heights, Illinois.

                                                2.        When employees first begin their jobs at Gerresheimer, they are required to scan

                                         their fingerprint in its biometric time tracking system as a means of authentication, instead of using

                                         only key fobs or other identification cards.

                                                3.        While there are tremendous benefits to using biometric time clocks in the

                                         workplace, there are also serious risks. Unlike key fobs or identification cards—which can be
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                                           changed or replaced if stolen or compromised—fingerprints are unique, permanent biometric

                                           identifiers associated with the employee. This exposes enyloyees to serious and irreversible
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                                           privacy risks. For example, if a fingerprint database is hacked, breached, or otherwise exposed,

                                           employees have no means by which to prevent identity theft and unauthorized tracking.

                                                  4.      Recognizing the need to protect its citizens from situations like these, Illinois

                                           enacted the Biometric Information Privacy Act, 740 ILCS 14/1, et seq. ("BIPA"), specifically to

                                           regulate companies that collect and store Illinois citizens' biometrics, such as fingerprints.

                                                  5.      Despite this law, Gerresheimer disregarded its employees' statutorily protected

                                           privacy rights and unlawfully collects, stores, and uses their biometric data in, violation of the

                                           BIPA. Specifically, Gerresheimer has violated (and continues to violate) the BIPA because it did

                                           not:

                                                  •       Properly inform Plaintiff and the Class members in writing of the specific purpose
                                                          and length of time for which their fingerprints were being collected, stored, and
                                                          used, as required by the BIPA;

                                                  •       Provide a publicly available retention schedule and guidelines for permanently
                                                          destroying Plaintiffs and the Class's fingerprints, as required by the BIPA; nor

                                                  •       Receive a written release from Plaintiff or the members of the Class to collect,
                                                          capture, or otherwise obtain fingerprints, as required by the BIPA.

                                                  6.      Accordingly, this Complaint seeks an order: (i) declaring that Defendant's conduct

                                           violates the BIPA; (ii) requiring Defendant to cease the unlawful activities discussed herein; and

                                           (iii) awarding liquidated damages to Plaintiff and the proposed Class.

                                                                                        PARTIES

                                                  7.      Plaintiff is a natural person and citizen of the State of Illinois.

                                                  8.      Defendant Gerresheimer is a Delaware corporation with its principal place of

                                           business in Vineland, New Jersey.




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                                                                              JURISDICTION AND VENUE

                                                        9.    This Court has jurisdiction over Defendant pursuant to 735 ILCS 5/2-209 because
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                                             Defendant conducts business transactions in Illinois and have committed tortious acts in Illinois.

                                                        10.   Venue is proper in Cook County because Defendant operates throughout this

                                             County and "resides" in Cook County within the meaning of 735 ILCS § 5/2-102(a).

                                                                               FACTUAL BACKGROUND

                                             I.         The Biometric Information Privacy Act.

                                                        11.   In the early 2000's, major national corporations started using Chicago and other

                                             locations in Illinois to test "new [consumer] applications of biometric-facilitated financial

                                             transactions, including finger-scan technologies at grocery stores, gas stations, and school

                                             cafeterias." 740 ILCS 14/5(b). Given its relative infancy, an overwhelming portion of the public

                                             became weary of this then-growing, yet unregulated technology. See 740 ILCS 14/5.

                                                        12.   In late 2007, a biometrios company called Pay By Touch—which provided major

                                             retailers throughout the State of Illinois with fingerprint scanners to facilitate consumer

                                             transactions—filed for bankruptcy. That bankruptcy was alarming to the Illinois Legislature

                                             because suddenly there was a serious risk that millions of fingerprint records—which, are unique

                                             biometric identifiers, can be linked to people's sensitive financial and personal data—could now

                                             be sold, distributed, or otherwise shared through the bankruptcy proceedings without adequate

                                             protections for Illinois citizens. The bankruptcy also highlighted the fact that most consumers who

                                             had used that company's fingerprint scanners were completely unaware that the scanners were not

                                             actually transmitting fingerprint data to the retailer who deployed the scanner, but rather to the

                                             now-bankrupt company, and that unique biometric identifiers could now be sold to unknown third

                                             parties.




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                                               13.        Recognizing the "very serious need [for] protections for the citizens of Illinois

                                       when it [came to their] biometric information," Illinois enacted the BIPA in 2008. See Illinois
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                                       House Transcript, 2008 Reg. Sess. No. 276; 740 ILCS 14/5.

                                               14.        The BIPA is an informed consent statute which achieves its goal by making it
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                                       unlawful for a company to, among other things, "collect, capture, purchase, receive through trade,

                                       or otherwise obtain a person's or a customer's biometric identifiers or biometric information,

                                       unless it first:

                                                          (1) informs the subject . . . in writing that a biometric identifier or biometric
                                                          information is being collected or stored;

                                                          (2) informs the subject . . . in writing of the specific purpose and length of term for
                                                          which a biometric identifier or biometric information is being collected, stored, and
                                                          used; and

                                                          (3) receives a written release executed by the subject of the biometric identifier or
                                                          biometric information.

                                       740 ILCS 14/15(b).

                                               15.        BIPA specifically applies to employees who work in the State of Illinois. BIPA

                                       defines a "written release" specifically "in the context of employment [as] a release executed by

                                       an employee as a condition of employment." 740 ILCS 14/10.

                                               16.        Biometric identifiers include retina and iris scans, voiceprints, scans of hand and

                                       face geometry, and—most importantly here—fingerprints. See 740 ILCS 14/10. Biometric

                                       information is separately defined to include any information based on an individual's biometric

                                       identifier that is used to identify an individual. See id.

                                               17.        The BIPA also establishes standards for how employers must handle Illinois

                                       employees' biometric identifiers and biometric information. See 740 ILCS 14/15(c)—(d). For

                                       instance, the BIPA requires companies to develop and comply with a written policy—made
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                                            available to the public—establishing a retention schedule and guidelines for permanently

                                            destroying biometric identifiers and biometric information when the initial purpose for collecting
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                                            such identifiers or information has been satisfied or within three years of the individual's last

                                            interaction with the company, whichever occurs first. 740 ILCS 14/15(a).

                                                    18.    Ultimately, the BIPA is simply an informed consent statute. Its narrowly tailored

                                            provisions place no absolute bar on the collection, sending, transmitting or communicating of

                                            biometric data. For example, the BIPA does not limit what kinds of biometric data may be

                                            collected, sent, transmitted, or stored. Nor does the BIPA limit to whom biometric data may be

                                            collected, sent, transmitted, or stored. The BIPA simply mandates that entities wishing to engage

                                            in that conduct must make proper disclosures and implement certain reasonable safeguards.

                                            II.     Gerresheimer Violates the Biometric Information Privacy Act.

                                                    19.    By the time the BIPA passed through the Illinois Legislature in mid-2008, many

                                            companies who had experimented with using biometric data as an authentication method stopped

                                            doing so, at least for a time. That is because Pay By Touch's bankruptcy, described in Section I

                                            above, was widely publicized and brought attention to consumers' discomfort with the use of their

                                            biometric data.

                                                    20.    Unfortunately, Gerresheimer failed to take note of the passage of the BIPA.

                                            Gerresheimer continued to collect, store, and use its employees' biometric data in violation of the

                                            BIPA.

                                                    21.    Specifically, when employees worked at Gerresheimer, they are required to have

                                            their fingerprints scanned in order to enroll them in its fingerprint database.

                                                    22.    Gerresheimer uses an employee time tracking system that requires employees to

                                            use their fingerprints as a means of authentication. Unlike a traditional timec lock, employees have




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                                          to use their fingerprint to "punch" in to or out of work.

                                                 23.     Gerresheimer failed to inform its employees of the complete purposes for which it
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                                          collects their sensitive biometric data or to whom the data is disclosed, if at all.

                                                 24.     Gerresheimer similarly failed to provide its employees with a written, publicly

                                          available policy identifying its retention schedule, and guidelines for permanently destroying its

                                          employees' fingerprints when the initial purpose for collecting or obtaining their fingerprints is no

                                          longer relevant, as required by the BIPA. An employee who leaves the company does so without

                                          any knowledge of when their biometric identifiers will be removed from Gerresheimer

                                          databases—or if they ever will be.

                                                 25.     The Pay By Touch bankruptcy that catalyzed the passage of the BIPA highlights

                                          why conduct such as Gerresheimer's —whose employees are aware that they are providing

                                          biometric identifiers but are not aware of to whom or the full extent of the reasons they are doing

                                          so—is so dangerous. That bankruptcy spurred Illinois citizens and legislators to realize a critical

                                          point: it is crucial for people to understand when providing biometric data who exactly is collecting

                                          it, who it will be transmitted to, for what purposes, and for how long. But Gerresheimer disregards

                                          these obligations, and instead unlawfully collects, stores, and uses its employees' biometric

                                          identifiers and information without proper consent.

                                                 26.     Ultimately, Gerresheimer disregards its emploees' statutorily protected privacy

                                          rights by violating the BIPA.

                                                                          FACTS SPECIFIC TO PLAINTIFF

                                                 27.      Plaintiff worked for Gerresheimer in Illinois through 2019.

                                                 28.      As an employee, Gerresheimer required Plaintiff to scan Plaintiff's fingerprint so

                                          that it could use it as an authentication method to track time. Gerresheimer subsequently stored




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                                           Plaintiffs fingerprint data in its databases.

                                                  29.      Each time Plaintiff began and ended a workday, Gerresheimer required a scan of
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                                           Plaintiffs fingerprints.

                                                  30.      Gerresheimer never informed Plaintiff of the specific limited purposes or length of

                                           time for which it collected, stored, or used fingerprints.

                                                  31.      Similarly, Gerresheimer never informed Plaintiff of any biometric data retention

                                           policy it developed, nor whether it will ever permanently delete fingerprints.

                                                  32.      Plaintiff never signed a written release allowing Gerresheimer to collect or store

                                           fingerprints.

                                                  33.      Plaintiff has continuously and repeatedly been exposed to the risks and harmful

                                           conditions created by Gerresheimer violations of the BIPA alleged herein.

                                                  34.      Plaintiff now seeks liquidated damages under BIPA as compensation for the

                                           injuries Gerresheimer has caused.

                                                                                CLASS ALLEGATIONS

                                                  35.      Class Definition: Plaintiff brings this action pursuant to 735 ILCS 5/2-801 on

                                           behalf of Plaintiff and a Class of similarly situated individuals, defined as follows:

                                                  All residents of the State of Illinois who had their fingerprints collected, captured, received,
                                                  otherwise obtained, or disclosed by Defendant while residing in Illinois.

                                           The following people are excluded from the Class: (1) any Judge presiding over this action and

                                           members of their families; (2) Gerresheimer, Gerresheimer's subsidiaries, parents, successors,

                                           predecessors, and any entity in which the Defendant or its parents have a controlling interest and

                                           its current or former officers and directors; (3) persons who properly execute and file a timely

                                           request for exclusion from the Class; (4) persons whose claims in this matter have been finally

                                           adjudicated on the merits or otherwise released; (5) Plaintiffs counsel and Defendant's counsel;



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                                        and (6) the legal representatives, successors, and assigns of any such excluded persons.

                                               36.     Numerosity: The exact number of Class members is unknown to Plaintiff at this
                        PM2020CH03460




                                        time, but it is clear that individual joinder is impracticable. Gerresheimer has collected, captured,

                                        received, or otherwise obtained biometric identifiers or biometric information from at least
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                                        hundreds of employees who fall into the definition of the Class. Ultimately, the Class members

                                        will be easily identified through Defendant's records.

                                               37.     Commonality and Predominance: There are many questions of law and fact

                                        common to the claims of Plaintiff and the Class, and those questions predominate over any

                                        questions that may affect individual members of the Class. Common questions for the Class

                                        include, but are not necessarily limited to the following:

                                                       a) whether Defendant collected, captured, or otherwise obtained Plaintiff's and the
                                                          Class' biometric identifiers or biometric information;

                                                       b) whether Defendant properly informed Plaintiff and the Class of its purposes for
                                                          collecting, using, and storing their biometric identifiers or biometric
                                                          information;

                                                       c) whether Defendant obtained a written release (as defined in 740 ILCS 14/10)
                                                          to collect, use, and store Plaintiff and the Class' biometric identifiers or
                                                          biometric information;

                                                       d) whether Defendant has sold, leased, traded, or otherwise profited from Plaintiff
                                                          and the Class's biometric identifiers or biometric information;

                                                       e) whether Defendant developed a written policy, made available to the public,
                                                          establishing a retention schedule and guidelines for permanently destroying
                                                          biometric identifiers and biometric information when the initial purpose for
                                                          collecting or obtaining such identifiers or information has been satisfied or
                                                          within three years of their last interaction, whichever occurs first;

                                                       0 whether Defendant complies with any such written policy (if one exists); and

                                                           whether Defendant used Plaintiff and the Class' fingerprints to identify them.

                                               38.     Adequate Representation: Plaintiff will fairly and adequately represent and




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                                          protect the interests of the Class and have retained counsel competent and experienced in complex

                                          litigation and class actions. Plaintiff have no interests antagonistic to those of the Class, and
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                                          Defendant has no defenses unique to Plaintiff. Plaintiff and their counsel are committed to

                                          vigorously prosecuting this action on behalf of the members of the Class, and have the financial

                                          resources to do so. Neither Plaintiff nor their counsel have any interest adverse to those of the other

                                          members of the Class.

                                                 39.     Appropriateness: This class -action is appropriate for certification because class

                                          proceedings are superior to all others available methods for the fair and efficient adjudication of

                                          this controversy and joinder of all members of the Class is impracticable. The damages suffered

                                          by the individual members of the Class are likely to have been small relative to the burden and

                                          expense of individual prosecution of the complex litigation necessitated by Gerresheimer's

                                          wrongful conduct. Thus, it would be virtually impossible for the individual members of the Class

                                          to obtain effective relief from Gerresheimer's misconduct. Even if members of the Class could

                                          sustain such individual litigation, it would not be preferable to a class action because individual

                                          litigation would increase the delay and expense to all parties due to the complex legal and factual

                                          controversies presented in their Complaint. By contrast, a class action presents far fewer

                                          management difficulties and provides the benefits of single adjudication, economies of scale, and

                                          comprehensive supervision by a single court. Economies of time, effort, and expense will be

                                          fostered and uniformity of decisions will be ensured.

                                                                               CAUSE OF ACTION
                                                                         Violation of 740 ILCS 14/1, et seq.
                                                                        (On Behalf of Plaintiff and the Class)

                                                 40.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

                                                 41.     The BIPA requires companies to obtain informed written consent from employees




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                                        before acquiring their biometric data. Specifically, the BIPA makes it unlawful for any private

                                        entity to "collect, capture, purchase, receive through trade, or otherwise obtain a person's or a
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                                        customer's biometric identifiers or biometric information, unless [the entity] first: (1) informs the

                                        subject . . . in writing that a biometric identifier or biometric information is being collected or
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                                        stored; (2) informs the subject. . . in writing of the specific purpose and length of term for which

                                        a biometric identifier or biometric information is being collected, stored, and used; and (3) receives

                                        a written release executed by the subject of the biometric identifier or biometric information...."

                                        740 ILCS 14/15(b) (emphasis added).

                                               42.     The BIPA also mandates that companies in possession of biometric data establish

                                        and maintain a satisfactory biometric data retention (and—importantly—deletion) policy.

                                        Specifically, those companies must: (i) make publicly available a written policy establishing a

                                        retention schedule and guidelines for permanent deletion of biometric data (i.e., when the

                                        employment relationship ends); and (ii),actually adhere to that retention schedule and actually

                                        delete the biometric information. See 740 ILCS 14/15(a).

                                               43.     Unfortunately, Gerresheimer fails to comply with these BIPA mandates.

                                               44.     Gerresheimer qualifies as a "private entity" under the BIPA. See 740 ILCS 14/10.

                                               45.     Plaintiff and the Class are individuals who had their "biometric identifiers"

                                        collected by Gerresheimer (in the form of their fingerprints), as explained in detail in Section II.

                                        See 740 ILCS 14/10.

                                               46.     Plaintiff and the Class' biometric identifiers or information based on those

                                        biometric identifiers were used to identify them, constituting "biometric information" as defined

                                        by the BIPA. See 740 ILCS 14/10.

                                               47.     Gerresheimer violated 740 ILCS 14/15(b)(3) by failing to obtain written releases




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                                          from Plaintiff and the Class before it collected, used, and stored their biometric identifiers and

                                          biometric information.
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                                                    48.   Gerresheimer violated 740 ILCS 14/15(b)(1) by failing to inform Plaintiff and the

                                          Class in writing that their biometric identifiers and biometric information were being collected and

                                          stored.

                                                    49.   Gerresheimer violated 740 ILCS 14/15(b)(2) by failing to inform Plaintiff and the

                                          Class in writing of the specific purpose and length of term for which their biometric identifiers or

                                          biometric information was being collected, stored, and used.

                                                    50.   Gerresheimer violated 740 ILCS 14/15(a) by failing to publicly provide a,retention

                                          schedule or guideline for permanently destroying its employees' biometric identifiers and

                                          biometric information.

                                                    51.   By collecting, storing, and using Plaintiff's and the Class' biometric identifiers and

                                          biometric information as described herein, Gerresheimer violated Plaintiff's and the Class' rights

                                          to privacy in their biometric identifiers or biometric information as set forth in the BIPA, 740 ILCS

                                          14/1, et seq.

                                                    52.   On behalf of themselves and the Class, Plaintiff seek: (1) injunctive and equitable

                                          relief as is necessary to protect the interests of the Plaintiff and the Class by requiring Defendant's

                                          to comply with the BIPA's requirements for the collection, storage, and use of biometric identifiers

                                          and biometric information as described herein; (2) liquidated damages for each of Defendant's

                                          violations of the BIPA pursuant to 740 ILCS 14/20; and (3) reasonable attorneys' fees and costs

                                          and expenses pursuant to 740 ILCS 14/20(3).




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                                                                             PRAYER FOR RELIEF

                                                WHEREFORE, Plaintiff, on behalf of herself and the Class, respectfully request that the
                        PM2020CH03460




                                        Court enter an Order:

                                                A.       Certifying this case as a class action on behalf of the Class defined above,
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                                        appointing Plaintiff as representative of the Class, and appointing their counsel as Class Counsel;

                                                B.       Declaring that Defendant's actions, as set out above, violate the BIPA;

                                                C.       Awarding statutory damages for each of Defendant's violations of the BIPA,

                                        pursuant to 740 ILCS 14/20;

                                                D.       Awarding injunctive and other equitable relief as is necessary to protect the

                                        interests of the Class, including an Order requiring Defendant to collect, store, and use biometric

                                        identifiers or biometric information in compliance with the BIPA;

                                                F.       Awarding Plaintiff and the Class their reasonable litigation expenses and attorneys'

                                        fees;

                                                G.       Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent

                                        allowable; and

                                                H.       Awarding such other and further relief as equity and justice may require.


                                        Dated: March 24, 2020                          Respectfully submitted,

                                                                                       Alexsia Bradley, individually and on behalf of all
                                                                                       others similarly situated,

                                                                                       By: /s/ Mara Baltabols
                                                                                               One of Plaintiff's Attorneys


                                                                                       David Fish
                                                                                       dfishfishlawfirm.com
                                                                                       Mara Baltabols
                                                                                       mara(a)fishlawfirm.com



                                                                                          12
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                                                                          THE FISH LAW FIRM, P.C.
                                                                          200 East Fifth Avenue, Suite 123
                                                                          Naperville, Illinois 60563
                       PM2020CH03460




                                                                          Tel: 630.355.7590
                                                                          Fax: 630.778.0400
                                                                          Cook Cnty #: 44086
                                                                          docketingRfishlawfirm.com
FILEDDATE: 3/24/20201:11




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Notice and Acknowledgment of
Receipt of Summons and Complaint                                                         (10/12/18) CCG 0063 A

                   IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
 ALEXSIA BRADLEY individually and on
 behalf of all others similarly situated
                                             Plaintiff(s)    Case No. 2020CH03460
                           VS.
                                                             Defendant(s)
 GERRESHIMER GLASS INC.
                                                             Amount Claimed: $
                                           Defendant(s)


        NOTICE AND ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND
      GERRESHIMER GLASS INC. COMPLAINT
      c/o CT Corporation System                                    208 S. LaSalle St., Suit 814
To:                                                     Address:
                       (Name)
        Chicago                                                                           60604
City:                                                              State: IL      Zip:
The enclosed summons and complaint are served pursuant to section 2-213 of the Code of Civil
Procedure.
You must complete the acknowledgment part of this form and return one copy of the completed

form to the sender within            30       * days.
You must sign and date the acknowledgment. If you are served on behalf of a corporation,
unincorporated association (including a partnership), or other entity, you must indicate under your
signature your relationship to that entity. If you are served on behalf of another person and you are
authorized to receive process, you must indicate under your signature your authority.

If you do not complete and return the form to the sender within 30          * days, you (or the
party on whose behalf you are being served) may be served a surainons and complaint in any other
manner permitted by law.

If you do complete and return this form, you (or the party on whose behalf you are being served)
must answer the complaint within              60        ** days. If you fail to do so, judgment by default
will be taken against you for the relief demanded in the complaint.
I declare, under penalty of perjury, that this ricItice and acknowledgment of receipt of summons and
        •
complaint will have been mailed on. 03/27/2020
              Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                     cookcountyclerkofcourt.org
                                                     Page 1 of 2
Case: 1:20-cv-02700 Document #: 2-1 Filed: 05/04/20 Page 23 of 46 PageID #:31


Notice and Acknowledgment of
Receipt of Summons and Complaint                                                           (10/12/18) CCG 0063 B

E-filing is now mandatory for documents in civil cases with limited exemptions. To
e-file, you must first create an account with an e-filing service provider. Visit http://efile.
illinoiscourts.gov/service-providers.htm to learn more and to select a service provider. If
you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/FAQ/
gethelp.asp.




         ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND COMPLAINT

I declare, under penalty of perjury, that I received a copy of the summons and of the complaint in
the above captioned matter at
(Please print or type)
Name:
Address:
City:                                               State:            Zip:
Email:
Relationship to Entity/Authority to Receive Service of Process:
(Not applicable if your are the named Defendant or Respondent.)

                                                              Dated:


                                                                                       Signature




*   (To be completed by the person sending the notice.) Date for return of waiver must be at least 30 days from the date
    on which the request is sent, or 60 days if the defendant is addressed outside the United States.
** go be completed by the person sending the notice) Date for answering complaint must be at least 60 days from the
    date on which the request is sent, or 90 days if the defendant is addressed outside the United States.




                Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                  cookcountycletkofcourt.org
                                                        Page 2 of 2
    o
                                             Case: 1:20-cv-02700 Document #: 2-1 Filed: 05/04/20 Page 24 of 46 PageID #:32
     Return Date: No return date scheduled
     Hearing Date: 7/22/2020 9:30 AM - 9:30 AM
     Courtroom Number: 2402
     Location: District 1 Court
                                                                                                                                           FILED
             Cook County, IL
                                                                                                                                           3/24/2020 1:11 PM
                                                                                                                                       DOROTHY BROWN
                                                                                                                                       CIRCUIT CLERK
                                                                                                                                       COOK COUNTY, IL
FILED DATE: 3/24/2020 1: 11 PM2020CH03460




                                                                                                                                       2020CH03460

                                                                                                                                       8946364
                                            2120 - Served                     2121 - Served
                                            2220 - Not Served                 2221 - Not Served
                                            2320 - Served By Mail             2321 - Served By Mail
                                            2420 - Served By Publication      2421 - Served By Publication
                                            Summons - Alias Summons                                                         (08/01/18) CCG 0001 A

                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                            ALEXSIA BRADLEY individually and on
                                            behalf of all others similarly situated

                                                                             (Name all parties)
                                                                                                   Case No.
                                                              V.
                                            GERRESHIMER GLASS INC.


                                                                          71 SUMMONS 0 ALIAS SUMMONS
                                                                  GERRESHIMER GLASS INC.
                                            To each Defendant: do CT Corporation System, 208 S. LaSalle St., Suit 814, Chicago, IL 60604

                                            YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of
                                            which is hereto attached, or otherwise file your appearance and pay the required fee within thirty
                                            (30) days after service of this Summons, not counting the day of service. To file your answer or
                                            appearance you need access to the internet. Please visit www.cookcountyclerkofcourt.org to initiate
                                            this process. Kiosks with internet access are available at all Clerk's Office locations. Please refer to
                                            the last page of this document for location information.
                                            If you fail to do so, a judgment by default may be entered against you for the relief
                                            requested in the complaint.
                                            To the Officer:
                                            This Summons must be returned by the officer or other person to whom it was given for service,
                                            with endorsement of service and fees, if any, immediately after service. If service cannot be made,
                                            this Summons shall be returned so endorsed. This Summons may not be served later than thirty (30)
                                            days after its date.




                                                          Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                            cookcountyclerkofcour t.org
                                                                                             Page 1 of 3
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Summons - Alias Summons                                                               (08/01/18) CCG 0001 B

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create an account with an e-fifing service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm
to learn more and to select a service provider. If you need additional help or have trouble e-filing, visit http://
www.illinoiscourts.gov/FAQ/gethelp.asp, or talk with your local circuit clerk's office.



Atty. No.: 44086                                            Witness:

Ally Name: The Fish Law Firm, P.C.                                    3/24/2020 1:11 PM DOROTHY BROWN

Atty. for: Plaintiff                                                DOROTHY BROWN, Clerk of Court
Address: 200 E. 5th Ave., Suite 123
                                                            Date of Service:
city: Naperville
                                                            (To be inserceTzl by officer on copy left with
State:   IL     zip: 60563                                  Defendant or other person):

Telephone: 630-355-7590
Primary Email: docketing@fishlawfirm.com


                                                                                  DOROTHY BROWN
                                                                                  CIRCUIT CLERK
                                                                                  COOK COUNTY, IL
                                                                                  2020CH03460




                Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                  cookcountyclerkofcourt.org
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                                            CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS

                                             Richard J Daley Center                             Domestic Relations Division
                         PM2020CH03460




                                             50 W Washington                                    Richard J Daley Center
                                             Chicago, IL 60602                                  50 W Washington, Rm 802
                                             District 2 - Skokie                                Chicago, IL 60602
                                             5600 Old Orchard Rd                                Hours: 8:30 am - 4:30 pm
                                             Skokie, IL 60077                                   Civil Appeals
FILED DATE: 3/24/2020 1:11




                                             District 3 - Rolling Meadows                       Richard J Daley Center
                                             2121 Euclid                                        50 W Washington, Rm 801
                                             Rolling Meadows, IL 60008                          Chicago, IL 60602
                                                                                                Hours: 8:30 am - 4:30 pm
                                             District 4 --Maywood
                                             1500 Maybrook Ave                                  Criminal Department
                                             Maywood, IL 60153                                  Richard J Daley Center
                                                                                                50 W Washington, Rm 1006
                                             District 5 - Bridgeview                            Chicago, IL 60602
                                             10220 S 76th Ave                                   Hours: 8:30 am - 4:30 pm
                                             Bridgeview, IL 60455
                                                                                                County Division
                                             District 6 - Markham                               Richard J Daley Center
                                             16501 S Kedzie Pkwy
                                                                                                50 W Washington, Rm 1202
                                             Markham, IL 60428                                  Chicago, IL 60602
                                             Domestic Violence Court                            Hours: 8:30 am - 4:30 pm
                                             555 W Harrison                                     Probate Division
                                             Chicago, IL 60607                                  Richard J Daley Center
                                             Juvenile Center Building                           50 W Washington, Rm 1202
                                             2245 W Ogden Ave, Rm 13                            Chicago, IL 60602
                                             Chicago, IL 60602                                  Hours: 8:30 am - 4:30 pm
                                             Criminal Court Building                            Law Division
                                             2650 S California Ave, Rm 526                      Richard J Daley Center
                                             Chicago, IL 60608                                  50 W Washington, Rm 801
                                                                                                Chicago, IL 60602
                                         Daley Center Divisions/Departments                     Hours: 8:30 am - 4:30 pm
                                             Civil Division                                     Traffic Division
                                             Richard J Daley Center                             Richard J Daley Center
                                             50 W Washington, Rm 601                            50 W Washington, Lower Level
                                             Chicago, IL 60602                                  Chicago, IL 60602
                                             Hours: 8:30 am - 4:30 pm                           Hours: 8:30 am - 4:30 pm
                                             Chancery Division
                                             Richard J Daley Center
                                             50 W Washington, Rm 802
                                             Chicago, IL 60602
                                             Hours: 8:30 am - 4:30 pm

                                                     Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
                                                                       cookcountyclerkofcourt.org
                                                                                  Page 3 of 3
                                          Case: 1:20-cv-02700 Document #: 2-1 Filed: 05/04/20 Page 27 of 46 PageID #:35
                      Return Date: No return date scheduled
                      Hearing Date: 7/22/2020 9:30 AM - 9:30 AM
                      Courtroom Number: 2402           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                       FILED
                      Location: District 1 Court           COUNTY DEPARTMENT, CHANCERY DIVISION                            3/24/2020 2:51 PM
                              Cook County, IL
                                                                                                                           DOROTHY BROWN
                                           ALEXSIA BRADLEY individually and on                                             CIRCUIT CLERK
                                           behalf of all others similarly situated,                                        COOK COUNTY, IL
FILEDDATE: 3/24/2020 2:51PM2020CH03460




                                                                                                                           2020CH03460

                                                                                                                           8948075

                                                  V.                                         Case No.: 2020CH03460

                                           GERRESHIMER GLASS INC.

                                                                 Defendant.



                                                                              NOTICE OF MOTION

                                         To:    GERRESHIMER GLASS INC., do CT Corporation System
                                                208 S. LaSalle St., Suite 814, Chicago, IL 60604


                                             PLEASE TAKE NOTICE that on June 2, 2020 at 10:00 am, or as soon thereafter as counsel
                                         can be heard, I shall appear before the Honorable Judge Presiding in Courtroom 2402 of the
                                         Richard J. Daley Center, 50 West Washington, Chicago, Illinois to present the Plaintiff's Motion
                                         for Class Certification and Request for Discovery on Certification Issues, a copy of which is
                                         attached hereto and hereby served upon you.

                                         Dated: March 24, 2020
                                                                                     Respectfully submitted,

                                                                                     Alexsia Bradley, individually and
                                                                                     on behalf of all others similarly situated.

                                                                                      By:   /s/ Mara Baltabols
                                                                                            One of its Attorneys

                                                                        CERTIFICATE OF SERVICE

                                                The undersigned, an attorney, hereby certifies that on March 24, 2020 before 5:00 p.m.,
                                         he caused the foregoing notice and response to be served on the above party by U.S. Mail.

                                                                                      By:   /s/ Mara Baltabols
                                                                                            One of Plaintiffs Attorneys
                                         THE FISH LAW FIRM, P.C.
                                         200 E 5th Ave., Suite 123
                                         Naperville, IL 60563
                                         (630) 355-7590
                                         admin@fishlawfirm.com
                                         Cook County Atty No. 44086
                                          Case: 1:20-cv-02700 Document #: 2-1 Filed: 05/04/20 Page 28 of 46 PageID #:36
                 Return Date: No return date scheduled
                 Hearing Date: 7/22/2020 9:30 AM - 9:30 AM
                 Courtroom Number: 2402
                                                                                                                              FILED
                 Location: District 1 Court
                                                                                                                              3/24/2020 2:51 PM
                         Cook County, IL
                                                        IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                         DOROTHY BROWN
                                                                                                                              CIO
                                                                                                                                ROCK       ERK IL
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                                                            COUNTY DEPARTMENT, CHANCERY DIVISION
FILEDDATE: 3/24/20202:51PM 2020CH03460




                                                                                                                              2020CH03460
                                           ALEXSIA BRADLEY individually and on
                                           behalf of all others similarly situated,                                           8948075

                                                                  Plaintiff

                                                  v.                                           Case No.: 2020CH03460

                                           GERRESHEIMER GLASS INC.,

                                                                  Defendant.




                                              PLAINTIFF'S MOTION FOR CLASS CERTIFICATION AND REQUEST FOR
                                                           DISCOVERY ON CERTIFICATION ISSUES

                                                Plaintiff Alexsia Bradley ("Bradley" or "Plaintiff") alleges that Defendant Gerresheimer

                                         Glass, Inc. ("Gerresheimer" or "Defendant") systematically violated the Biometric Information

                                         Privacy Act ("BIPA"), 740 ILCS 14/1 et seq. This case is well-suited for class certification under

                                         735 ILCS 5/2-801. Specifically, Plaintiff seeks to certify a class consisting of hundreds of former

                                         and current similarly-situated employees who worked for Defendant that had their fingerprints

                                         unlawfully collected, captured, received, otherwise obtained, or disclosed by Defendant during the

                                         applicable statutory period in violation of BIPA. The question of liability is a legal question that

                                         can be answered in one fell swoop. As Plaintiff's claims, and the claims of similarly-situated

                                         individuals, all arise from Defendant's uniform policies and practices, they satisfy the requirement

                                         of 735 ILCS 5/2-801 and should be certified.
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                                                                       I.   RELEVANT BACKGROUND
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                                               Major national corporations started using locations in Illinois in the early 2000s to test

                                        "new [consumer] applications of biometric-facilitated financial transactions, including finger-scan

                                        technologies at grocery stores, gas stations, and school cafeterias." 740 ILCS 14/5(c). Given its

                                        relative infancy, an overwhelming portion of the public became wary of this then-growing, yet

                                        unregulated, technology. See 740 ILCS 14/5.

                                               The Biometric Information Privacy Act, 740 ILCS 14/1, et seq. was enacted in 2008,

                                        arising from concerns that these experimental uses of finger-scan technologies created a "very

                                        serious need of protections for the citizens of Illinois when it comes to biometric information."

                                        Illinois House Transcript, 2008 Reg. Sess. No. 276. Under the Act, it is unlawful for a private

                                        entity to, among other things, "collect, capture, purchase, receive through trade, or otherwise

                                        obtain a person's or a customer's biometric identifiers or biometric information unless it first:

                                               (1) Informs the subject. . . in writing that a biometric identifier or biometric information
                                                   is being collected or stored;

                                               (2)   Informs the subject. . . in writing of the specific purpose and length of term for which
                                                     a biometric identifier or biometric information is being collected, stored, and used;
                                                     and

                                               (3)   Receives a written release executed by the subject of the biometric identifier or
                                                     biometric information." 740 ILCS 14/15(b).

                                                Although there may be benefits with using biometrics in the workplace, there are also

                                        serious risks. Unlike ID badges— which can be changed or replaced if stolen or compromised —

                                        fingerprints are a unique, permanent biometric identifier associated with each individual. These

                                        biometrics are biologically unique to the individual; once compromised, the individual has no

                                        means by which to prevent identity theft, unauthorized tracking, or other unlawful or improper use

                                        of this information. This exposes individuals to serious and irreversible privacy risks. For example,



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                                        if a biometric database is hacked, breached, or otherwise exposed — as in the recent Equifax, Home

                                        Depot, Google+ and Facebook/Cambridge Analytica data breaches— individuals have no means to
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                                        prevent the misappropriation and theft of their proprietary biometric makeup. Recognizing the

                                        need to protect its citizens from harms like these, Illinois enacted BIPA specifically to regulate the
FILED DATE: 3/24/20202:51




                                        collection, use, safeguarding, handling, storage, retention, and destruction of biometric identifiers

                                        and information.

                                            A. Factual Allegations

                                               Plaintiff filed this class action against Defendant to redress Defendant's unlawful

                                        collection, use, storage, and disclosure of Illinois employees' biometric information under BIPA.

                                        In this Class Action Complaint, Plaintiff provided detailed allegations that Illinois employees who

                                        use Defendant's technology as a condition of employment were, and continue to be, universally

                                        required to scan their fingerprints for enrollment in an employee database(s) as a requirement of

                                        their employment, but are not: (1) informed in writing of the purpose(s) and length of time for

                                        which fingerprint data is being collected, stored, used, and disseminated by Defendant; (2)

                                        provided a publicly available retention schedule or guidelines for permanent destruction of the

                                        biometric data by Defendant; and (3) provided (nor did it execute) a written release for Defendant,

                                        as required by BIPA. See Compl. 11120-24, 27-33.41-52.

                                               Plaintiff was required to use Defendant's biometric device during her work for Defendant.

                                        Id. 11112,21. As a condition of employment, Plaintiff was required to scan her fingerprints each time

                                        she clocked in or out of work. Id. Plaintiff was required to scan her fingerprints each time they

                                        accessed Defendant's biometric device. Id. However, Defendant failed and continue to fail to

                                        inform Illinois employees, including Plaintiff, of the extent of the purposes for which it collects

                                        individuals' sensitive biometric data or to whom the data is disclosed. Id. 75, 23-24. Defendant



                                                                                              3
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                                           similarly failed to provide Illinois employees, including Plaintiff, with a written, publicly available

                                           policy identifying its retention schedule and guidelines for permanently destroying individuals'
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                                           fingerprint data when the initial purpose for collecting or obtaining their fingerprint is no longer

                                           relevant, as required by BIPA. Id. 1123-24, 42-43. Illinois employees, including Plaintiff, have no

                                           knowledge when they leave the company of when — if ever — their biometric identifiers will be

                                           removed from Defendant's database(s). Id.

                                                   Illinois workers are not told what might happen to their biometric data if and when

                                           Defendant merges with another company or, worse, if and when Defendant's entire businesses

                                           fold. Since Defendant neither publishes a BIPA-mandated data retention policy nor disclose the

                                           purposes for its collection of biometric data, Illinois employees, including Plaintiff, have no idea

                                           whether Defendant sells, discloses, re-discloses, or otherwise disseminates their biometric data.

                                           Nor are Illinois employees told to whom Defendant currently discloses their biometric data or what

                                           might happen to their biometric data in the event of a merger or a bankruptcy. Finally, Defendant

                                           never secured a written release executed by any of Illinois' employees, including Plaintiff,

                                           permitting it to collect, store, use, and disseminate employees' biometric data, as required by

                                           BIPA. Id. ¶¶ 5, 32, 41-43.

                                                   Accordingly, Defendant's practices violated BIPA. As a result of Defendant's violations,

                                           Plaintiff and similarly-situated individuals were subject to Defendant's common and uniform

                                           policies and practices and were victims of its scheme to unlawfully collect, store, use, and

                                           disseminate Illinois employees' biometric data in direct violation of BIPA. Plaintiff now seeks

                                           class certification for the following similarly-situated individuals, defined as:

                                                  All residents of the State of Illinois who had their fingerprints collected, captured, received,
                                                  otherwise obtained, or disclosed by Defendant while residing in Illinois.




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                                                  Given Defendant's standard practices defined above and the straightforward and common

                                           legal questions presented in this case, Plaintiff now moves for class certification. Notably, this
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                                           motion is being filed shortly after the Complaint was filed and before Defendant has responded.

                                           For the reasons discussed herein, Plaintiff's request should be granted.

                                                                II.    STANDARD FOR CLASS CERTIFICATION

                                                  "The basic purpose of a class action is the efficiency and economy of litigation." CE Design

                                           Ltd v. C & T Pizza, Inc., 2015 IL App. (1st) 131465, 'II 9 (Ill. App. Ct. May 8, 2015) (citing Miner

                                           v. Gillette Co., 87 Ill. 2d 7, 14 (1981)). "In determining whether to certify a proposed class, the

                                           trial court accepts the allegations of the complaint as true and should err in favor of maintaining

                                           class certification." CE Design Ltd, 2015 IL App. (1st) 131465, 11 9 (citing Ramirez v. Midway

                                           Moving & Storage, Inc., 378 Ill. App. 3d 51, 53 (2007)). Under Section 2801 of the Code of Civil

                                           Procedure, a class may be certified if the following four requirements are met:

                                                  (1) the class is so numerous that a joinder of all members is impracticable;

                                                  (2) there are questions of fact or law common to the class that predominate over
                                                      any questions affecting only individual members;

                                                  (3) the representative parties will fairly and adequately protect the interest of the
                                                      class; and

                                                  (4) the class action is an appropriate method for the fair and efficient adjudication
                                                      of the controversy.

                                                   See Smith v. Illinois Cent. R.R. Co., 223 Ill. 2d 441, 447 (2006) (citing 735 ILCS 5/2-801).

                                           Notably, "[a] trial court has broad discretion in determining whether a proposed class meets the

                                           requirements for class certification." CE Design Ltd, 2015 IL App. (1st) 131465, ¶ 9 (citing

                                           Ramirez, 378 Ill. App. 3d at 53). Here, the allegations and facts in this case amply demonstrate

                                           that the four certification factors are met.



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                                                                                III. ARGUMENT

                                                  Plaintiff's claims here are especially suited for class certification because Defendant treated
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                                           all Illinois employees identically for the purposes of applying BIPA. All of the putative class

                                           members in this case were uniformly subjected to the same illegal and unlawful collection, storage,

                                           use, and dissemination of their biometric data that was required as a condition of employment

                                           throughout the class period. Plaintiff meets each of the statutory requirements for maintenance of

                                           this suit as a class action. Thus, the class action device is ideally suited and is far superior to

                                           burdening the Court with many individual lawsuits to address the same issues, undertake the same

                                           discovery, and rely on the same testimony.

                                                  A.      The Class Is So Numerous That Joinder of All Members Is
                                                          Impracticable.

                                                  Numerosity is not dependent on a plaintiff setting forth a precise number of class members

                                           or a listing of their names. See Cruz v. Unilock Chicago, 383 Ill. App. 3d 752, 771 (2d Dist. 2008)

                                           ("Of course, plaintiffs need not demonstrate a precise figure for the class size, because a good-

                                           faith, non-speculative estimate will suffice; rather, plaintiffs need demonstrate only that the class

                                           is sufficiently numerous to make joinder of all of the members impracticable.") (internal citations

                                           omitted); Hayna v. Arby's, Inc., 99 III. App. 3d 700, 710-11 (1st Dist. 1981) ("It is not necessary

                                           that the class representative name the specific individuals who are possibly members of the

                                           class."). Courts in Illinois generally find numerosity when the class is comprised of at least 40

                                           members. See Wood River Area Dev. Corp. v. Germania Fed. Say. Loan Ass 'n, 198 Ill. App. 3d

                                           445, 450 (5th Dist. 1990).

                                                  In the present case, there can be no serious dispute that Plaintiff meets the numerosity

                                           requirement as Defendant employs hundreds of Illinois workers who were subjected to the same

                                           policy. The class of potential plaintiffs is sufficiently large to make joinder impracticable. As a


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                                           result of Defendant's violations of BIPA, Plaintiff and all similarly situated individuals were

                                           subjected to Defendant's common and uniform policies and practices and were victims of
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                                           Defendant's scheme to unlawfully collect, store, use, and disseminate their extremely personal

                                           and private biometric data in direct violation of BIPA. The precise number in the class cannot be

                                           determined until discovery records are obtained from Defendant. Nevertheless, class membership

                                           can be easily determined by reviewing Defendant's records and those of its customers. See e.g.,

                                           ChuItem v. Ticor Title Ins. Co., 401 Ill. App. 3d 226, 233 (1st Dist. 2010) (reversing Circuit Court's

                                           denial of class certification and holding that class was certifiable over Defendant's objection that

                                           "the proposed class was not ascertainable, because the process of reviewing Defendant's

                                           transaction files to determine class membership would be burdensome"). Once Defendant's

                                           records are obtained, the Court will know the precise number of persons affected.

                                                  Further, recognizing the need to protect its citizens from harms such as identity theft,

                                           Illinois enacted BIPA specifically to regulate the collection, use, safeguarding, handling, storage,

                                           retention, and destruction of biometric identifiers and information. A class action would help

                                           ensure that Plaintiff and all other similarly-situated individuals have a means of redress against

                                           Defendant for its widespread violations of BIPA.

                                                  B.      Common Questions Of Law And Fact Exist That Predominate Over
                                                          Any Questions Solely Affecting Individual Members Of The Class.

                                                  Courts analyze commonality and predominance under Section 2-801 by identifying the

                                           substantive issues that will control the outcome of the case. See Bemis v. Safeco Ins. Co. of Am.,

                                           407 Ill. App. 3d 1164, 1167 (5th Dist. 2011); Cruz, 383 Ill. App. 3d at 773. The question then

                                           becomes whether those issues will predominate and whether they are common to the class,

                                           meaning that "favorable adjudication of the claims of the named plaintiffs will establish a right of

                                           recovery in other class members." Id. at 773. As stated by the Court of Appeals, the question is


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                                          will "common . . . issues be the subject of the majority of the efforts of the litigants and the

                                          court[?]" Bemis, 407 Ill. App. 3d at 1168. The answer here is "yes." Common questions of law or
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                                          fact are typically found to exist when "the claims of the individual class members are based upon

                                          the common application of a statute or where the proposed class members are aggrieved by the

                                          same or similar conduct or a pattern of conduct." Bueker v. Madison Cty., 2016 IL App (5th)

                                          150282, 15 27; McCarthy v. LaSalle Nat'l Bank & Trust Co., 230 Ill. App. 3d 628, 634 (1st Dist.

                                          1992).

                                                   At the heart of this litigation is Defendant's culpable conduct under BIPA. The issues are

                                          simple and straightforward legal questions that plainly lend themselves to class-wide resolution.

                                          Notwithstanding the clear and unequivocal requirements of the law, Defendant disregarded the

                                          statutorily-protected privacy rights of Plaintiff and other similarly-situated individuals and

                                          unlawfully collected, stored, used, and disseminated their biometric data in direct violation of

                                          BIPA. Specifically, Defendant have violated and continues to violate BIPA because it failed and

                                          continues to fail to: (1) inform Plaintiff or the putative class in writing of the specific purpose(s)

                                          and length of time for which their fingerprints were being collected, stored, used, and disseminated

                                          as required by BIPA; (2) provide a publicly available retention schedule and guidelines for

                                          permanently destroying Plaintiff's and the putative class' fingerprints, as required by BIPA; and

                                          (3) receive a written release from Plaintiff or the putative class to collect, capture, use, otherwise

                                          obtain or disseminate their fingerprints, as required by BIPA. Defendant treated the entire proposed

                                          class in precisely the same manner, resulting in identical violations of BIPA. These common

                                          practices create common issues of law and fact. In fact, the legality of Defendant's collection,

                                          storage, use, and dissemination of Illinois employees' biometric data is the focus of this litigation.




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                                                  Indeed, once this Court determines whether Defendant's practices of collecting, storing,

                                          and using individuals' biometric data without adhering to the specific requirements of BIPA
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                                          constitutes violations thereof, liability for the claims of class members will be determined in one

                                          stroke. The material facts and issues of law are substantially the same for the members of the class,
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                                          and therefore these common issues could be tried such that proof as to one claimant would be

                                          proof as to all members of the class. This alone establishes predominance. The only remaining

                                          questions will be whether Defendant's violations caused members of the class to suffer damages

                                          and the proper measure of damages and injunctive relief, which in and of themselves are questions

                                          common to the class. Accordingly, a favorable adjudication of the Plaintiff's claims in this case

                                          will establish a right of recovery to all other class members, and thus the commonality and

                                          predominance requirements weigh in favor of certification of the class.

                                                 C.      The Named Plaintiff And Class Counsel Are Adequate Representatives Of
                                                         The Class.

                                                  When evaluating adequacy, courts look to whether the named plaintiff has the same

                                          interests as those of the class and whether she or she will fairly represent them. See CE Design

                                          Ltd., 2015 IL App. (1st) 131465, ¶ 16. In this case, Plaintiff's interest arises from statute. The class

                                          representative is a member of the proposed class and will fairly and adequately protect the class'

                                          interests. Plaintiff, as a condition of employment, was required to have her fingerprints scanned

                                          by one of Defendant's biometric devices. Defendant subsequently stored Plaintiff's fingerprints in

                                          its database(s). Plaintiff has never been informed of the specific limited purposes (if any) or length

                                          of time for which Defendant collected, stored, used, or disseminated her biometric data. Compl.

                                          115,30,48. Plaintiff has never been informed of any biometric data retention policy developed by

                                          Defendant, nor have she ever been informed whether Defendant will ever permanently delete her

                                          fingerprints. Finally, Plaintiff has never been provided, nor did she ever sign, a written release


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                                           allowing Defendant to collect, store, use, or disseminate her fingerprints. Thus, Plaintiff was a

                                           victim of the same uniform policies and practices as the individuals she seeks to represent and is
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                                           not seeking any relief that is potentially antagonistic to other members of the class. What is more,

                                           Plaintiff has the interests of those class members in mind, as demonstrated by her willingness to
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                                           sue on a class-wide basis and step forward as the class representatives, which subjects them to

                                           discovery.

                                                   Proposed Class Counsel, The Fish Law Firm PC will also fairly and adequately represent

                                           the class. Proposed Class Counsel are highly qualified and experienced attorneys. The Fish Law

                                           Firm, P.C. has extensive experience in class action litigation and its attorneys have been appointed

                                           class counsel on numerous occasions; they also are involved in more than a dozen cases involving

                                           biometric privacy violations. (See Exhibit A.) Thus, proposed Class Counsel, too, are adequate

                                           and have the ability and resources to manage this lawsuit.

                                                   D.     A Class Action Is The Appropriate Method For Fair And Efficient
                                                          Adjudication Of This Controversy.

                                                   Finally, a class action is the most appropriate method for the fair and efficient adjudication

                                           of this controversy, rather than bringing individual suits which could result in inconsistent

                                           determinations and unjust results. "It is proper to allow a class action where a Defendant is alleged

                                           to have acted wrongfully in the same basic manner toward an entire class." P..1. 's Concrete

                                           Pumping Service, Inc. v. Nextel West Corp., 345 Ill. App. 3d 992, 1003 (2d Dist. 2004). "The

                                           purported class representative must establish that a successful adjudication of its individual claims

                                           will establish a right of recovery or resolve a central issue on behalf of the class members." Id.

                                                   Here, Plaintiff's claim stems from Defendant's common and uniform policies and

                                           practices, resulting in common violations of BIPA for all members of the class. Thus, class

                                           certification will obviate the need for unduly duplicative litigation that might result in inconsistent


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                                            judgments concerning Defendant's practices. Wenthold v. AT&T Technologies, Inc., 142 Ill. App.

                                            3d 612 (1st Dist. 1986). Without a class, the Court would have to hear dozens, if not hundreds, of
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                                            additional individual cases raising identical questions of liability. Moreover, class members are

                                            better served by pooling resources rather than attempting to litigate individually. CE Design Ltd.,

                                            2015 IL App. (1st) 131465, TT 28-30 (certifying TCPA class where statutory damages were alleged

                                            and rejecting arguments that individual lawsuits would be superior). In the interests of justice and

                                            judicial efficiency, it is desirable to concentrate the litigationi of all class members' claims in a ,

                                            single forum. For all of these reasons, the class action is the most appropriate mechanism to

                                            adjudicate the claims in this case.

                                                   E.      The Court Should Allow Supplemental And Deferred Briefing Following
                                                           Discovery.
                                                   Defendant's practices and policies are uniform. Plaintiff believes that the present Motion

                                            should be supplemented based upon very limited initial discovery. Plaintiff is moving as early as

                                            possible for class certification in part to avoid the "buyoff problem," which occurs when a

                                            Defendant seeks to settle with a class representative on individual terms in an effort to moot the

                                            class claims asserted by the class representative. Plaintiff is also moving for class certification now

                                            because the class should be certified, and because no meaningful discovery is necessary to

                                            establish that fact. The instant motion is far more than a placeholder or barebones memorandum.

                                            Rather, Plaintiff's full arguments are set forth based on the facts known at this extremely early

                                            stage of litigation. Should the Court wish for more detailed factual information, the briefing

                                            schedule should be extended.

                                                                                     IV.     Conclusion

                                                   For the reasons stated above, Plaintiff respectfully request that the Court enter an Order:

                                            (1) certifying Plaintiff's claims as a class action; (2) appointing Plaintiff as Class Representative;


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                                         (3) appointing The Fish Law Firm, P.C. as Class Counsel; and (4) authorizing court-facilitated

                                         notice of this class action to the class. In the alternative, this Court should allow discovery, allow
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                                         Plaintiff to supplement this briefing, and defer response and reply briefs.
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                                         Date: March 24, 2020                           Respectfully Submitted,

                                                                                        By: /s/ Mara Baltabols
                                                                                        One of Plaintiff's Attorneys


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                                                             Exhibit A
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                                                                          DECLARATION OF DAVID J FISH
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                                                Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil

                                         Procedure, the undersigned certifies that the statements set forth in this instrument are true and
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                                         correct, except as to matters therein stated to be on information and belief, and as to such matters

                                         the undersigned certifies as aforesaid that he verily believes the same to be true:

                                                 1.      lam-an-attorney admitted to practice before the Supreme Court of the State of

                                         Illinois. I am entering this declaration in support of Plaintiffs' Motion for and Memorandum in

                                         Support of Class Certification. This declaration is based upon my personal knowledge except

                                         where expressly noted otherwise. If called upon to testify to the matters stated herein, I could and

                                         would competently do so.

                                                 2.      I am the founder of The Fish Law Firm, P.C.

                                                 3.      I graduated #2 in my law school class from Northern Illinois University College of

                                         Law in 1999. Prior to starting my own firm, I was employed by other law firms engaged in

                                         litigation in and around Chicago, Illinois including, Jenner & Block in Chicago as a summer

                                         associate, Klein, Thorpe & Jenkins in Chicago as an associate and The Collins Law Firm, P.C. as

                                         an associate.


                                                 4.      I have extensive experience representing employees and employers in labor and

                                         employment disputes. I have handled disputes with the Illinois Department of Labor, the United

                                         States Department of Labor, the Illinois Department of Human Rights, the National Labor

                                         Relations Board, the Equal Employment Opportunity Commission, and in the state and federal

                                         courts in Illinois. I have litigated dozens of cases in the United States District Court for the

                                         Northern District of Illinois.




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                                              5.      I am the former chair of the DuPage County Bar Association's Labor and

                                       Employment Committee and served on the Illinois State Bar Association's Labor and Employment
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                                       Committee Section Council. I also am a member of the National Employment Lawyers

                                       Association.
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                                              6.      I have, on several occasions, lectured at educational seminars for lawyers and other

                                       professionals. I moderated a continuing legal education panel of federal magistrates and judges on

                                       the Federal Rules of Civil Procedure through the Illinois State Bar Association. I have presented

                                       on electronic discovery rules and testified before the United States Judicial Conference in Dallas,

                                       Texas regarding electronic discovery issues. I have provided several CLE presentations on issues

                                       relating to labor and employment law.

                                              7.      I have authored, or co-authored, many articles, including: "Enforcing Non-

                                       Compete Clauses in Illinois after Reliable Fire", Illinois Bar Journal (April 2012); "Top 10 wage

                                       violations in Illinois", ISBA Labor and Employment Newsletter (August, 2017); "Physician

                                       Non-Complete Agreements in Illinois: Diagnosis—Critical Condition; Prognosis- Uncertain"

                                       DuPage County Bar Journal (October 2002); "Are your clients' arbitration clauses enforceable?"

                                       Illinois State Bar Association, ADR Newsletter (October 2012); "The Legal Rock and the

                                       Economic Hard Place: Remedies of Associate Attorneys Wrongfully Terminated for Refusing to

                                       Violate Ethical Rules", Univ. of W. Los Angeles Law Rev. (1999); "Zero-Tolerance Discipline

                                       in Illinois Public Schools" Illinois Bar Journal (May 2001); "Ten Questions to Ask Before '

                                       Taking a Legal-Malpractice Case" Illinois Bar Journal (July 2002); "The Use Of The Illinois

                                       Rules of Professional Conduct to Establish The Standard of Care In Attorney Malpractice

                                       Litigation: An Illogical Practice", Southern Illinois Univ. Law Journal (1998); "An Analysis of




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                                            Firefighter Drug Testing under the Fourth Amendment", International Jour. Of Drug Testing

                                            (2000); "Local Government Web sites and the First Amendment", Government Law, (November
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                                            2001, Vol. 38).

                                                   8. Some examples of class, collective, and/or employment litigation in which I have served

                                            as a lawyer include:

                                                   a.      Larson v. Lennox Industries, 2013 WL 105902 (N.D. Ill, 12 c 2879)(conditional

                                            certification granted in FLSA action alleging that store managers were misclassified as exempt

                                            from receiving overtime pay).

                                                   b.      Nelson v. UBS Global Management, No. 03-C-6446, 04 C 7660 (N. D. Ill.)(ERISA

                                            class action on behalf of thousands of BP Amoco employees who had Enron debt purchased as

                                            part of their money market fund; recovery of approximately $7 million).

                                                   c.      Sotelo v. DirectRevenue, No. 05-2562 (N.D. Ill. filed Apr. 29, 2005)(class action

                                            alleging that company placed "spyware" on consumers' computers; resulted in a settlement that

                                            mandated significant disclosures to computer users before unwanted software could by placed

                                            on their computers, see also Julie Anderson, Sotelo v. Directrevenue, LLC: Paving the Way for

                                            Spyware-Free Internet, 22 Santa Clara High Tech. L.J. 841 (2005).

                                                   d.      Franzen v. IDS Futures Corporation, 06 CV 3012 (N. D. Ill. 2006)(recovery

                                            of millions of dollars for more than 1,000 limited partners in an investment fund that lost value as

                                            a result of the Refco bankruptcy).

                                                   e.      Pope v. Harvard Bancshares, 06 CV 988, 240 F.R.D 383 (N. D. Ill. 2006)(class

                                            action recovery of $1.3 million for former shareholders of community bank who had stock

                                            repurchased in a reorganization).




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                                               f       Pietrzycki v. Heights Tower Serv., Inc., 197 F. Supp. 3d 1007 (N.D. Ill.

                                        2016)(finding Fish appropriate to represent Class in wage and hour claims relating to overtime).
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                                               g.      Schrock v. Wenner Media LLC, et al, 10-cv-7230 (defended marketing

                                        company in putative nationwide class action alleging violations of TCPA for unsolicited text
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                                        message marketing; our client dismissed from case voluntarily without payment).

                                               h.      G.M Sign Inc. v. Pastic-Mach Corporation, 12-cv-3149 and 10-cv-7854

                                        (defended putative nationwide class action alleging violations of TCPA for unsolicited junk faxes,

                                        both cases dismissed without payment by client).

                                               i.      Ismael Salam v Nationwide Alarm LLC, 14-cv-1720 (defended putative

                                        nationwide class action alleging violations of TCPA for unsolicited calls to cellular telephone; our

                                        client dismissed with prejudice voluntarily without payment).

                                               J.      Cope v. Millhurst Ale House of Yorkville, Inc. 14-cv-9498 (collective action for

                                        FLSA claims settled on collective basis).

                                               k.      Girolamo v. Community Physical Therapy & Associates, Ltd, 15-cv-2361

                                        (alleging claims under FLSA, IMWL, IWPCA).
                                                1.     Jones et al v. Sistar Beauty Corporation, 15-cv-3359 (collective action alleging

                                        FLSA and class action alleging Illinois Minimum Wage Law "IMWL" claims; final judgment

                                        entered).

                                               m.      Magallan v. Pancho's Family Restaurant, LLC, 15-cv-5578 (defending FLSA

                                        and IMWL claims).

                                               n.      Mello et al v. Krieger Kiddie Corporation, 15-cv-5660 (collective and putative

                                        class action alleging claims under FLSA, IMWL, IWPCA).

                                               o.      Lampley v. Aryaani dba Subway, 15-cv-9332 (collective action alleging claims

                                        under FLSA, IMWL, IWPCA).


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                                                          Kalechstein v. Mehrdad Abbassian, M.D., P.C., 15-cv-5929 (defending IWPCA
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                                                          Barker et al v. Septran, Inc, 15-cv-9270 (IMWL and putative collective claims

                                         under the FLSA and IWPCA).
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                                                 r.       Simpkins v. DuPage Housing Authority, 15-cv-9103 (includes claims under

                                         FLSA and 1MWL).

                                                 s.       Day v. Stockton Construction Group, LLC, 15-cv-5884 (collective claims brought

                                         under FLSA, IMWL, and IWPCA).

                                                 t.       Wehrle v. Midwest Sleep Associates, LLC, 15-cv-4397 (collective action complaint

                                         alleging claims under FLSA and IMWL).

                                                 u.       Sharples et al v. Krieger Kiddie Corporation, 2013 CH 25358 (Cir. Court Cook

                                         County) (Illinois Wage Payment and Collection Act IWPCA class action claims; final approval of

                                         class wide settlement).

                                                 v.       Wendell H. Stone Co. v. Metal Partners Rebar, 16-cv-8285 (defending TCPA

                                         class action).

                                                 w.       Barker v. Septran, 15-cv-9270 (Rule 23 IWPCA claim for vacation forfeiture and

                                         separate FLSA claims for overtime).

                                                 x.       Andrews v. Rockford Process Control, Inc., 3:17-cv-50171 (class and collective

                                         claims brought under the FLSA and the IMWL).

                                                 y.       Kusinski v. MacNeil Automotive Products Limited, 17-cv-03618 (class and

                                         collective claims under the FLSA and the IMWL; final approval of class settlement entered);

                                                 z.       Grace v. Brickstone, 17-cv-7849 (class and collective claims under the FLSA,

                                         IMWL, and IWPCA; final approval of class settlement).



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                                                       I declare under penalty of perjury under the laws of the State of Illinois that the

                                        foregoing is true and correct.
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                                                      Executed this 8th day of February, 2019 at Naperville, Illinois.
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                                                                                     /s/ David J. Fish

                                                                                             David J. Fish




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